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            EXHIBIT 190
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           Re: SOC 8 Strategy
           From:               •
           To:
           Cc:                                                             ,


           Date:             Tue, 07 Feb 2023 19:40:31 -0500
           Attachments:      Draft 12-Point Plan.docx (35.23 kB)

           It would help for me to attach my thoughts!

           On Tue, Feb 7, 2023 at 12:26 PM                                      wrote:

             Hi Eli

             Are you tapping my zoom?

             I absolutely agree with you.




             From: Eli Coleman <               >
             Sent: Tuesday, February 7, 2023 2:21 PM
             To:                     ;                           ;


             Subject: SOC 8 Strategy



             Dear Colleagues,



             I have been giving a lot of thought to how to strengthen the impact of SOC 8 and to mitigate the
             onslaught of attacks on the SOC and trans health care in general. I feel we really are in need of a
             strategic plan and a clear work plan to accomplish those goals.



             I humbly offer my thoughts to you for your consideration.



             Best regards,



             Eli




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           Draft 12-point Strategic Plan to Advance Gender Affirming Care through strengthening
                                             the WPATH SOC-8.

          Introduction

          While we can breathe some relief that the barrage of attacks on WPATH's SOC 8 in the media
          have diminished, the attacks on access to transgender health care have not.

          The WPATH SOC has been the major tool which has advanced access to quality trans health
          care for over 40 years. SOC-8 represents the most robust, consensus and evidence-based SOC
          that WPATH has produced. It is a shining culmination of the work of the Association over the
          many years history.

          With the attacks on access to trans health care, particularly for youth, strengthening the
          awareness, support, articulating its value, defending it from critics, and adding more convincing
          evidence is critical to mitigate the attacks. We will not be able to stop the attacks in the short-run
          but we can mitigate the damage and propel access to trans health care when this political wave
          diminishes.

          Trans health care is not only under attack by politicians, but by:
             • an unfortunate trend in the media to sensationalize conflict
             •
             • academics and scientists who are naturally skeptical
             •
             •
             • well-funded advocacy organizations driven by conservative sexual and gender values
                 whose sole aim is to limit access to trans health care
             • parents of youth who are caught in the middle of this controversy
             •
             • continuing pressure in health care to provide evidenced-based care
             •
             • health care systems and insurance companies looking to limit health care costs
             •
             • a burgeoning demand for transgender health care with concomitant increase in access to
             •
                 health care,
             •
             • increasing number of regret cases and individuals who are vocal in their retransition
                 process who are quick to blame clinicians for allowing themselves to transition despite an
                 informed consent process

          As much as we love this Association and value our professional members, many critics see
          WPATH as an activist organization that is biased and self-serving. The legitimacy of trans
          health research has been held back, but has been growing rapidly and the number of academic
          clinicians and researchers has grown exponentially in recent years. In addition, while we value
          clinical expertise, the battle for legitimacy is being fought in controlled studies. And, yet double-
          blind studies are often ethically inappropriate and never mind the costs of such research making
          the gold standard of evidence based medicine impossible. All of us are painfully aware that
          there are many gaps in research to back up our recommendations.

          The attackers are in the minority and we still enjoy a unprecedented level of support for access to
          trans health care. However, the minority are winning battles in health care systems and in laws
          and policies which are eroding years of progress and as a result transgender lives are at grave
          risk.




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          1234671967/

          https://www.newsweek.conildonald-trump-promises-executive-orders-gender-affirming-
          https://www.newsweek.com/donald-trump-promises-executive-orders-gender-affirming-
          healthcare-transgender-youth-1777976

          Based upon these facts, I offer a set of recommendations for WAS officials to consider. I acknowledge
          that some of these things have already been considered or are in the works, but I wanted to summarize
          various strategies that build upon one another.



                                                   Draft: 12-Point Plan

          1. Endorsements

          As far as I know, we have endorsements of the SOC 8 from the World Association for Sexual Health and
          the International Society for Sexual Medicine. The endorsement of the WPATH SOC 8 is prominently
          displayed on the WAS website and has been highlighted in their newsletters. I have not seen any public
          statement or documentation of ISSM's endorsement.

          We should start to build and advertise the endorsements that we have received on our own website and
          publicize in our communications (or commentaries) about SOC
                                                                   S0C 8.

          Endorsements by large organizations are oftentimes cumbersome and that word might not be the best
          one to use for getting support from organizations. However, there are many organizations which are
          sympathetic to our work and there may be ways for them to guide us on how they might lend support.

          I don't know what happened to our efforts to get more support from the American Academy of
          Pediatrics. We seemed to dodge a denouncement from them when we released the SOC 8, but we have
          not seemed to have moved beyond that and received some public words of support or possible
          endorsement. They are also very connected to the other major medical organizations and offered to
          help in gaining their support. They have much more resources for advocacy and communications and it
          seems we should partner more closely with them to help us with our efforts.

          I hope we can get support from the Amer Plastic Surgery organization and I know those efforts are
          underway.

          We may be more successful in gaining support from more global organizations like we have with WPATH
          and ISSM (e.g., the World Psychiatric Association) or organizations in Europe or in other regions.

          This will take making an inventory of the organizations that we want support from and then identifying
          people within those organizations who we might be able to liaise with to help us find the best pathway
          for support. Our members who are close to those organizations are probably in the best position to
          approach these people on a one-on-one basis. Sending letters requesting support or endorsement is
          much too much a passive way of gaining support.




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          Organizations such as WHO will have a very difficult time endorsing our SOC — however there are ways
          that they can support — even by creating awareness of the SOC 8 throughout their networks. Other UN
          agencies should be engaged as well.

          I have no idea how it was ever said that so many medical organizations have endorsed SOC 7. This
          statement is made in many legal briefs and court proceedings. But is that true? How did that ever come
          about? My suspicion is that these organizations never formerly endorsed but have referenced SOC 7 in
          their support for trans health and rights. We need to find out the facts here.

          As we are facing so many legal battles over trans health care and rights, the statement that the SOC has
          so many endorsements has been an extremely powerful argument. We need to be able to get support
          of these important organizations and know how to indicate their support accurately or this argument in
          these court cases could be challenged.

          2. Commentaries

          One of the ways of promoting SOC 8, is to place commentaries in various journal publications. This
          would mitigate the damage caused by the many commentaries that have been critical with an
          opportunity to set the record straight and better interpret the evidence, but also increase the awareness
          of the SOC 8 and promote its use throughout the world.

          We could easily identify journals who would welcome these commentaries in various disciplines and
          divide up amongst ourselves who might write these commentaries.

          3. State of the art slide deck

          Several of us have created an overview of SOC 8 which summarize the contents of SOC 8 and what is
          new from SOC 7. A polished slide deck would be valuable to have that could be used by any of our
          members to promote the awareness of SOC 8.

          4. GEI training

          Certainly, the updated SOC 8 should be emphasized in further GEI training. I think we need a
          mechanism though GEI to get everyone who has taken the Foundations Course or have completed
          certification to get an update.

          5. Online Platform

          New research is coming out fast and furious. Much of this seems to reinforce the recommendations in
          the SOC. By providing an on-line platform to keep track of developments would be a good way to
          continue to bolster the evidence supporting the recommendations in SOC 8 as well as bring to our
          attention, evidence which might cause us to consider revisions or updates in SOC 8 and beyond. It
          would engage the world community in awareness of SOC 8 and provide a vehicle for feedback.

          6. Expert Consultation in Guideline Development

          As we faced challenges of developing and revising the methodology of SOC 8, we had to rely on Johns
          Hopkins which while some degree helpful, was very constraining. We were able to consult with other
          experts and was able to learn that there were other ways of developing guidelines that were probably
          more appropriate for the state of our science. As a result our methodology evolved and was improved —




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          however, we were not able to be as systematic as we could have been (e.g., we did not use GRADE
          explicitly). We have been attacked for our methodology and now have found ourselves in a position of
          defending it.

          I think it would be helpful to engage a guideline development expert or experts to examine what we
          have done and help us form a clear narrative and justification for what we have done. There are many
          strengths to our methodology and it is clearly the most robust, evidenced-based methodology that
          WPATH has used. We need to sharpen our method about the strengths. At the same time, we need to
          know its limitations and figure out how to respond to critics and package that in a clear and concise
          manner.

          As an outcome of this "audit", we may learn ways that we could strengthen what we have done or at
          least while things are fresh, think and learn about ways that revisions of SOC 8 could be applied.

          7. Research Agenda

          Now that we have reviewed the evidence, we are painfully aware of the gaps in the literature and the
          kinds of research that are needed to support our recommendations and strengthened the level of
          evidence in support of them.

          Years ago, following the LGBT IOM report, we were able to get funding from the National Institute of
          Health in the US to hold an expert consultation to review and outline the research needed to promote
          trans health. This resulted in a number of influential publications. One of the goals of this consultation
          was to promote collaboration and possible multi-site studies to carry out this research. To some degree
          this happened but not to the degree that it could have.

          I think there is a ripe opportunity to get funding from health agencies or ministries of health around the
          world to fund these kinds of consultations.

          These consultations not only benefit the participants in networking with other researchers, but help the
          agencies set research agendas and priorities. I would submit that this consultation was influenced in the
          NIH funding the Garofalo et al study.

          Fortunately, already NIH is holding a "NIH Scientific Workshop on Expanding the Evidence
          Base in Gender-Affirming Care for Transgender and Gender Diverse Populations. As several
          WPATH people are invited to this event — it would be good to arm them with research priorities.

          I expect this will be followed by RFPs related to these categories.

          It would be very good if we could articulate the kinds of research that needs to be done to strengthen
          the evidence for our recommendations — or to make adjustments. Making these clear and public would
          help research prioritize their own research agendas and might also help with funding priorities of
          funding agencies.

          An audit of the SOC 8 with the areas that are acknowledged as gaps or input from chapter leads to
          provide a prioritized list of research which is of high priority.




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          8. Year-in-Review

          I attended an outstanding lecture by Prof Gary Butler at the Swedish Professional Association for
          Transgender Health meeting last October who has often prepared a lecture on trans health — a year-in-
          review. He presented a summary and review of the major and most important studies in the previous
          year.

          Preparing these kinds of presentations that could be highlighted at biennial WPATH conferences or
          regional meetings (USPATH, EPATH, etc.). These could also be possibly published in IJTH.

          These years-in-review presentations — could by broken down by surgery, hormones, mental health etc.)

          Another benefit is gathering the further evidence for any further revisions, modifications, supportive
          evidence for SOC 8.

          In court cases and in policy developments around the world — those of us who are fighting those battles
          would be greatly helped by those who can summarize recent finding.

          The challenge is finding the people to do this and supporting them. However, we have identified
          outstanding SOC 8 members who could be very helpful.

          9. Parents

          There has been quite a network of parents who have been concerned about the lack of careful
          evaluations, lack of involvement in decision making, and perceptions of rushed decisions which they feel
          account for the increased number of regret cases especially among youth. Narratives of these parents
          have resonated with the public and professionals.

          The voices of many parents who are supporting their trans and gender diverse kids have been silent.

          How could we facilitate support for those parents and amplify their voices?

          10. Facts about England, Sweden, Finland, Australia, New Zealand, the USA

          We need an accurate appraisal of policy changes that have occurred or are occurring around the world.
          When I was in Sweden in the fall, the new policy in Sweden was being rolled out. There were very
          different opinions of what these guidelines really were saying. Since, these are examples which are
          being used to as arguments for other countries to follow suit, I think it is important to find out what
          actually is happening in these countries where there seems to be a regression of trans health care access
          and dissonance with the WPATH SOC.

          Changes are occurring rapidly in the USA on a state-by-state or locality basis. Keeping up with the facts
          of these situations is very important. There is a domino effect going on and not always based upon
          facts.

          There is also opportunity to dialogue with these ministries. They have in a number of cases, reviewed
          the evidence by people unfamiliar with trans health — and often view the evidence in a myopic way. It
          seemed, for example in Sweden, an opportunity to dialogue and to work towards minimizing
          contradictions between their guidelines and the new SOC 8 guidelines. In their own review, for
          example, they relied on SOC 7 and had not even read SOC 8.




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          WPATH can play a role in influencing these regressive policies which are more and more out of step with
          WPATH SOC 8. This is a threat on our assertion that the WPATH SOC are the Gold Standard used around
          the world.

          11. Strengthening ties between regions

          While WPATH and its SOC are under attack by conservative forces around the world we should
          strengthen our own organization and its affiliates. WPATH has been very successful in spawning
          regional and local professional organization in support of trans health. The links between these
          organizations and WPATH could be strengthened.

          Do all these organizations support the new SOC 8. Endorsement from our own organizations would be
          helpful. Building and strengthening those ties — and formalizing agreements would strengthen WPATH
          and its voice.

          12. Finalizing a strategic plan

          I have presented a potpourri of strategies which might strengthen the impact of SOC 8 and the mission
          of WPATH. I would love to see these ideas considered by WPATH leadership and prioritized and
          resources committed to these efforts.

          There is a lot to discuss and brief zoom meetings interspersed with everyone's busy schedules might not
          be the best way to consider all of these. As a first step, I would encourage WPATH to convene a face-to-
          face strategic planning meeting to consider the best way forward. I would recommend that this take
          place over a two-day period somewhere convenient for those who can attend.

          I think it is a good time to pause and assess the strengths, weaknesses, risks and opportunities to move
          our agenda forward.

          Conclusion

          I hope that these thoughts and suggestions might be useful to consider. I am sure others have other
          ideas. I feel it is very important to move to a proactive strategy to enhance and strengthen the impact
          of our amazing SOC 8 as the conservative winds are strong and the lives of many transgender and
          gender diverse individuals are at state.




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